Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 1 of 9

IN THE UNITED STATES DISTRlCT COURT
FOR THE DISTRICT OF NEW MEXICO
GLORIA TANKESLY, as personal representative
of JAMES TANKESLY, deceased.
Plaintiff,
vs. Case No. 2:18-cV-00996 JCH/KRS
-JURY DEMANDED
J.C. PENNEY CORPORATION, INC.

Defendant.

JOINT STATUS REPORT AND PROVISIONAL DISCOVERY PLAN

Pursuant to FED. .R. CIV. P. 26({), a meeting Was held on December 5, 2018 and Was
attended by:

Sarnuel l. Kane, Kane LaW Firrn, for Plaintiff Gloria Tanl<esly, as personal representative
of James Tankesly, deceased

Nathan H. Mann and Harriett J. Hicl<nian, Gallagher, Casados & Mann, PC, for
Defendant J.C. Penney Corporation, Inc.

NATURE OF THE CASE
This is a personal injury matter arising from an incident at the Defendant J.C. Penney

Coi'poration, lne. (hereinafi:er “JCP) Stoi'e located at the Cottonwood Mall in Albuquerque, NeW
Mexico on February 21, 2016. Piaintiff asserts claims for negligence against JCP for injuries

decedent, J ames Tanlcesly, allegedly sustained as a result of the incident

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 2 of 9

AMENDMENTS TO PLEADINGS AND JOINDER OF PARTIES

Plaintiff intends to lile: Uni<nown at this time, but reserves the right to add necessary
parties, or theories of recovery, should discovery so dictate

Plaintiff(s) should be allowed until January 30, 2019 to move to amend the pleadings and
until January 30, 2019 to join additional parties in compliance with the requirements of Fed. R.
Civ. P. 15(a).

Defendant intends to Ble: Unknown at this time.

Defendants(s) should be allowed until February 28, 2019 to move to amend the pleadings
and until February 28, 2019 to join additional parties in compliance With the requirements of
Fed. R. Civ. P. 15(a).

STIPULATIONS

The parties hereto stipulate and agree that venue is properly laid in this District; that the
United States District Court for the District of Nevv Mexico has jurisdiction of the parties and the
subject matter

The parties are Willing to further stipulate to the following facts:

l. Plaintifi`, Gloria Tankesly, is a resident of Dona Ana County, State of New Mexioo.

2. Defendant JCP is a corporation that operates a store located in the Cottonwood Maii,
Albuquerque, Nevv Mexico.

3. On February 21, 2016, .iames Tanl<esly was a customer in the JCP store located in the
Cottonwood Mall, Albuquerque, NeW l\_/lexico.

4. On February 2l, 2016, .iarnes Tanl<esly Was operating and riding in an electric
Wheelchair in the JCP store.

The parties further stipulate and agree that the law governing this case is: LaW of the

State ofNeW Mexico.

Version 3 .' December 2 009

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 3 of 9

PLAINTIFF'S CONTEN'I`IONS:`

This action arises out of Plaintiff/Decedent shopping at Defendant JC Penney, a
department store. Employees of Defendant had placed clothing items on a metal/aluminum rack
directly centering a common walkway within the department store. Plaintii`f/Decedent entered
the store, traveling on an electric wheelchair and tried to negotiate a turn around the clothing
racl<, when the corner of said clothing rack caught his leg, causing a significant gash thereon.
The clothing rack caused serious personal injury to Plaintiff/Decedent. Plaintiff/Decedent
contends that he was an invitee at Defendant’s store. Plaintit`f/Decedent contends that Defendant
had an actual or constructive notice that the clothing racks posed a dangerous and hazardous
condition that could lead to serious bodily injuries, as it restricted travel through the common
walkway, especially for handicapped individuals Plaintii`f/Decedent contends that he was
improperly warned by Defendant of the hazardous condition Plaintift`/Decedent contends that
Defendant failed to take any reasonable step to prevent the hazardous and dangerous condition
Plaintiff/Decedent contends that Defendant had a duty to maintain its business premises in a
reasonably safe condition, a duty to take steps reasonably calculated to remove the hazardous
and dangerous condition, and a duty to warn of the hazardous and dangerous condition Finally,
Plaintit`f/Decedent contends that Defendant breached their duty and based on this negligence
caused the personal injury to him and should be held liable for all losses and damages.

DEFENDANT'S CONTENTIONS:
Mr. Tanl<esly, While operating his electric wheelchair, ran into a table in plain sight that
did not have any sharp edges or other dangerous condition Defendant JCP denies Plaintift" s
allegations of liability and damages set forth in her Complaint for Personal Injuries. Any
purported damages by Plaintiff were the result of l ames Tanlcesly’s own negligence and/or

conduct, acts or omissions, which conduct either bars Plaintiff’ s claims or reduces her claims in

3

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 4 of 9

an amount to be determined at trial. The injuries and damages alleged were the result of the
negligence or wrongdoing of others. The injuries and damages alleged Were the result of
unavoidable medical complications lf Mr. Tanl<esly was injured as alleged, Plaintiff` s injuries
and damages were not reasonably foreseeable Plaintiff has failed to mitigate her damages,
thereby barring or reducing such damages
I’ROVISIONAL BISCOVERY PLAN
The parties jointly propose to the Court the following discovery plan: (Use Separate

paragraphs or Subparagraphs as necessary if parties disagree.)

 

List all Witnesses who, at this time, you think will either testify or be deposed, giving their
name, title, address and a brief summary of their testimonyl lt is insufficient to list Witnesses’
addresses, save for clients,‘ ‘in care of counsel ”

List all documents which you believe, at this time, will be exhibits at the trial.

List all experts who you believe, at this time, will testify at the trial, giving their name, address,
area of expertise, and a brief summary of the anticipated testimony.

 

 

 

Plaintiff Gloria Tankeslv Witnesses

l. Gloria Tankesly
c/o Sarnuel l. Kane
Kane Law Firm
10l8 E. Amador
Las Cruces, NM 8800l
(575) 647-5264

Gloria Tankesiy, Mr. Tankesly’s daughter, may testify concerning her first-hand observations of
the subject incident

2. Maria Tankesly
c/o Samuel l. Kane
Kane Law Firm
l 01 8 E. Arnador
Las Cruees, NM 88001
(575) 647-5264

Maria Tankesly, l\/lr. Tanl<esly’s surviving spouse, may testify concerning her observations of the
subject incident l\/is. Tanl<esly may also testify regarding Mr. Tankesly’s injuries

Versr`on 3 .' December 2 009

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 5 of 9

3, Jennifer Marie
c/o Sarnuel I. Kane
Kane Law Firrn
1018 E. Amador
Las Cruces, Nl\/l 8800l
(575) 647-5264

Jennifer, Mr. Tankesly’s granddaughter, may testify concerning her observations of the subject
incident

4. Andrea Groves
c/o Gallagher, Casados & Mann, PC
4101 Indian School Rd. NE, Suite 200N
Albuquerque, NM 87110
(505) 243-7848

l\/ls. Groves, the Hurnan Resources Officer at the JCP store, may testify concerning her
knowledge of the subject incident and her preparation of the incident report.

5 . Amanda Slavin
c/o Gallagher, Casados & Mann, PC
4101 lndian School Rd. NE, Suite 200N
Albuquerque, Nl\/l 871 l 0
(505) 243~7848

, Ms. Slavin, a JCP store associate, may testify concerning her knowledge of the subject incident

6. Juan Bravo
c/o Gallagher, Casados & Mann, PC
4101 Indian School Rd. NE, Suite 200N
Albuquerque, NM 8,7110
(505) 243-7848

Mr. Bravo, the JCP Loss Prevention Manager, may testify concerning his knowledge of the
subject incident

7. Matthew Curry
c/o Gallagher, Casados & Mann, PC
4l01 indian School Rd. NE, Suite200N
Albuquerque, NM 87110
(505) 243-7848

Mr. Curry, the JCP Store Manager, may testify concerning his knowledge of the subject incident
8. Any witness identified in the course of discovery

9. Any witness identified by any other party.
5

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 6 of 9

10. Discovery has just begun and investigation continues Plaintiff further reserves

the right to supplement this listing.

Plaintiff’S Exhibits

1. Medical records and billing for J ames Tankesly

2. Discovery has just begun and investigation continues Plaintiff further reserves the

right to supplement this iisting.

Plaintiff’s Experts

Plaintiff has not yet determined what expert witnesses she may call at trial, and reserves

the right to supplement this listing as discovery progresses

Defendant JCP’s Witnesses

1.

Gloria 'I`ankesly

c/o Samuel 1. Kane
Kane Law Firm

1018 E. Amador

Las Cruces, NM 88001
(575) 647-5264

Gloria Tankesly, Mr. Tankesly’s daughter, may testify concerning her observations of the subject

incident.

2. Maria Tankesly

c/o Samuel I. Kane
Kane Law Firm

1018 E. Anrador

Las Cruces, NM 88001
(575) 647-5264

Maria Tankesly, Mr. Tankesly’s wife, may testify concerning her observations of the subject
incident i\/[s. Tanl<esly may also testify regarding Mr. Tankesly’s injuries

3. Jennifer Marie

c/o Samuel i. Kane
Kane Law Firm

1018 E. Amador

Las Cruces, NM 88001
(5'75) 647-5264

Versr`on 3.' December 2009

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 7 of 9

Jennifer, Mr. Tankesly’s granddaughter, may testify concerning her observations of the subject
incident

4. Andrea Groves
c/o Gallagher, Casados & Mann, PC
4101 lndian School Rd. NE, Suite 200N
Albuquerque, NM 87110
(505) 243~7848

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Ms. Slavin, a JCP store associate, may testify concerning her knowledge of the subject incident
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(505) 243-7848

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c/o Gallagher, Casados & l\/lann, PC
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Albuquerque, Nl\/l 87110
(505) 243-7848
Mr. Curry, the JCP Store Manager, may testify concerning his knowledge of the subject incidentl
8. Any witness identified in the course of discovery.
9. Any witness identified by any other party.

10. Discovery has just begun and investigation continues Defendant .lCP reserves

the right to supplement this listing.

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 8 of 9

Defendant JCP’s Exhibits

l. JCP lncident Report

2. Surveillance video of the subject incident

3. Medical records and billing for .i ames Tankesly

4. Death Certiticate for James Tankesly

5. Discovery has just begun and investigation continues Defendant JCP reserves the
right to supplement this listing.

Defendant JCP’s Experts

Defendant JCP has not yet determined what expert witnesses it may call at trial, and
reserves the right to supplement this listing as discovery progresses and to identify expert
witnesses regarding its alleged liability and Plaintiff’s alleged damages

Discovery will be needed on the following subjects: Liability and Damages

Maximum of 25 interrogatories by each party to any other party. (Responses due 30 days
after service).

Maximum of 25 requests for admission by each party to any other party. (Response due
30 days after service).

Maximum of 10 depositions by Plaintiff(s) and 10 by Defendant(s).

Each deposition (other than of ) limited to maximum of 7 hours unless
extended by agreement of parties

Reports from retained experts under Rule 26(a)(2) due:

from Plaintiff(s) by April 15, 2019
from Defendant(s) by May 15, 2019
Supplernentation under Rule 26(e) due in accordance with Rule 26(e) (set time(s) or

inierva!(s)).

Version 3: December 2009

Case 2:18-cv-00996-.]CH-KRS Document 10 Filed 12/21/18 Page 9 of 9

All discovery commenced in time to be complete by July 16, 2019. Discovery on (z`ssue

for early discovery) to be completed by

 

Other Items: (Use separate paragraphs or subparagraphs as necessary ifolher parties
disagree )
PRETRIAL MOTIONS
Plaintiff intends to file: Expeit challenges dispositive motions and motions in limine
Defendant intends to file: Expert challenges dispositive motions and motions in limine
ESTIMATED TRIAL TIME
The parties estimate trial will require 5 days/weeks
_ This is a non-jury case.
L This is a jury case.
The parties request a pretrial conference one month prior to trial.
SETTLEMENT
The possibility of settlement in this case is considered fair. The parties request a
settlement conference by June 16, 2019.
EXCEPTIONS

(Where counsel cannot agree to any recitation herein, exceptions shall be listed.)

APPROVED WITH/WITHOUT EXCEPTIONS
(note exceptions above)

Approved via e~mail December 20, 2018
For Plaintiff

Samuel Kane
i/Wv:i ‘CW\

For Defendant
Nathan H. Mann
Harriett J. Hickman

9

